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   7                                  UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
   8                                           AT SEATTLE
   9    STEVEN KNEIZYS,

 10                              Plaintiff,               Case No. 2:20-cv-01402-RSL

 11              v.
                                                          ORDER GRANTING MOTION TO
 12     FEDERAL DEPOSIT INSURANCE                         WITHDRAW AS COUNSEL FOR FDIC
        CORPORATION, AS RECEIVER FOR
 13     WASHINGTON MUTUAL BANK,
        RONALD V. RICE, NORMAN R.
 14     MORRISON JR., FRANKLIN H.
        MORRISON, JAMES BOHANON,
 15     JAMES MCLAUGHLIN, and VICKI
        MCLAUGHLIN,
 16
                                 Defendants.
 17

 18                       For good cause shown, Teresa H. Pearson’s motion to withdraw as counsel is

 19     granted. Teresa H. Pearson is no longer counsel for defendant Federal Deposit Insurance

 20     Corporation, as Receiver for Washington Mutual Bank, in this case.

 21                       IT IS SO ORDERED.

 22                       DATED this 29th day of September, 2021.

 23

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 25
                                                        THE HONORABLE ROBE
                                                                       ROBERT S. LASNIK
 26                                                     UNITED STATES DISTRICT COURT JUDGE



ORDER GRANTING MOTION TO WITHDRAW AS                                                       MILLER NASH LLP
COUNSEL FOR FDIC (Teresa H. Pearson) - 1                                                        AT T OR NE YS AT L AW
                                                                                          T: 503.224.5858 | F: 503.224.0155
(2:20-cv-01402-RSL)                                                                   1 1 1 S.W . FI FT H A V E N UE , SUI T E 3 4 0 0
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